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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )      Criminal No. 18-10364-DPW
               v.                            )
                                             )
(2) GENOVEVA ANDRADE,                        )
                                             )
                      Defendant              )

                          JOINT MOTION FOR RULE 11 HEARING
       By and through undersigned counsel, the United States and defendant Andrade jointly

move the Court to schedule this matter for a Rule 11 hearing as soon as practicable.



                                                            Respectfully submitted,

       GENOVEVA ANDRADE                                     ANDREW E. LELLING
       Defendant                                            United States Attorney

By:    /s/ Charles Rankin, Esq.                     By:     /s/ Zachary Hafer
       Charles Rankin                                       ZACHARY R. HAFER
       Counsel for Defendant Andrade                        Assistant U.S. Attorney



                                  CERTIFICATE OF SERVICE
        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified in the Notice of Electronic Filing.


                                                            /s/ Zachary R. Hafer
Date: December 7, 2020                                      Zachary R. Hafer
